                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                   Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                        BAIL ORDER NO. 15
          v.                                        Re: Dkt. No. 203

  DAVID JENNINGS, et al.,
                 Defendants.



       The bail requests from the following detainees are denied without prejudice:
           •   Jose Fernando Mendoza Valdovinos
           •   Miguel Angel Ayala Mendoza
           •   Mohammad Khan
       The bail requests from the following detainees are deferred:
           •   Bernard Oretekor
           •   Nelson Coche Salazar
       The bail requests from the following detainees are granted:
           •   Francisco Javier Jimenez Garcia
           •   Gustavo Raudales Banegas
           •   Jose Pacheco Mendez
           •   Leonel Garcia Martinez
           •   Yebio Kifle
Bail is subject to the standard conditions of release stated at Dkt. 108. Mr. Jimenez Garcia’s bail
is subject to the further conditions that he is prohibited from consuming alcohol or driving, and
must to submit to alcohol monitoring. Mr. Pacheco Mendez’s bail is subject to the further
condition that he is prohibited from consuming alcohol. Mr. Raudales may be released to either
of the proposed custodians.


       IT IS SO ORDERED.

Dated: May 22, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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